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                                                                           [.....-O-CT 5 2012   J
                                                                     souc;..~~~ u.s. DIsrR CT COURT
 4                                                                   BV        DISTRICT ( F CAUFORNIA
                                                                                          Lb4. DEPUTY
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 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                                    CASE NO. 11 CRI928-JLS

12                                          Plaintiff,             JUDGMENT AND ORDER OF
              vs.                                                  DISMISSAL OF INFORMATION
13
      KARLA MARTINEZ-CARREON (2),
14

15                                        Defendant.

16
            Upon motion of the UNITED STATES OF AMERICA and good cause appearing, the
17
     Information in the above entitled case is dismissed with prejudice, the bond is exonerated and, ifheld
18
19   by U.S. Pretrial Services, Defendant's passport is to be released to Defendant.
            IT IS SO ORDERED.
20
            Dated: 10/5/2012.
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                                                          ~RNARD
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23                                                                                        G. SKOMAL
                                                               United States Magistrate Judge
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